Case 4:20-cv-12600-SDK-APP ECF No. 38-1, PageID.1074 Filed 09/13/22 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


   MICHIGAN GEOSEARCH, INC.,

         Plaintiff                          Civil Action No. 4:20-cv-12600-SDK-APP

         , v.                               Judge Shalina D. Kumar

   TC ENERGY CORPORATION,                   Magistrate Judge Anthony P. Patti

         Defendant.


                                INDEX OF EXHIBITS

 Exhibit A      Transcript of February 17, 2022 Deposition of Stephen Nowaczewski

 Exhibit B      Transcript of February 25, 2022 of Deposition of Thomas Fodor (Filed
                Under Seal)

 Exhibit B      Continuation – Transcript of March 8, 2022 Deposition of Thomas
                Fodor

 Exhibit C      Transcript of February 23, 2022 Deposition of Richard Gentges

 Exhibit D      Transcript of June 22, 2022 Deposition of William E. Roach, P.E.

 Exhibit E      Transcript of April 13, 2022 Deposition of Susan Burla

 Exhibit F      Declaration of Thomas Fodor

 001            1975 Transcript of Testimony of Jack Elenbaas before the Federal
                Power Commission

 002            Study of Non-Effective Gas in Twenty American Natural Storage
                Reservoirs by Dr. Donald L. Katz (Filed Under Seal)
Case 4:20-cv-12600-SDK-APP ECF No. 38-1, PageID.1075 Filed 09/13/22 Page 2 of 4




 003        Letter from Donald L. Katz to Mr. O.B. Weideman at Michigan
            Consolidated Gas dated January 2, 1980 (Filed Under Seal)

 004        Inter-Correspondence from Mr. W.J. Haener to W.R. Clark and D.J.
            Dowhan re Response to Dr. Katz’s Letter of January 2, 1980 dated June
            23, 1980 (Filed Under Seal)

 005        Inter-Correspondence to M. B. Weideman from J.A. Ferrara re
            Analysis of Possible Gas Migration to Pilat #1-24 Well from
            Muttonville Field per D. Katz’s Request dated November 12, 2980
            (Filed Under Seal)

 008        January 12, 1995 Report to R.J. Gentges from S.F. Nowaczewski re
            Muttonville Area Geology as Related to the Lenox 24 (Pilat) Field
            (Filed Under Seal)

 009        Inter-Corporate Correspondence dated February 22, 1995 to J.D.
            Kobasa from R.J. Gentges re Michigan Geosearch Incorporated Pilate
            1-24 Well (Filed Under Seal)

 010        Inter-Corporate Correspondence dated July 3, 1996 to R.J. Gentges
            from C.A. Penabaker re Pilat 1-214 Well Summary (Filed Under Seal)

 011        Letter dated November 25, 1997 from Jack R. Elenbaas to Richard J.
            Gentges re Response to Review on November 5 and 6, 1997 of the
            1996-1997 Storage Inventory Report for the ANR Pipeline Company
            (Filed Under Seal)

 012        Letter dated December 30, 1998 from Jack R. Elenbaas to Richard J.
            Gentges re Response to Review on December 2, 3, and 4, 1998 of the
            1997-98 Storage Inventory Report for the ANR Pipeline Company,
            ANR Storage Company, and Mid Michigan Gas Storage Company
            Storage Fields (Filed Under Seal)

 015        November 3, 1998 Letter from Stephen Nowaczewski to Walter
            Dowdle re Muttonville Inventory Analysis – Attaching Tables and
            Graphs re Pilat #1-24 (Filed Under Seal)
Case 4:20-cv-12600-SDK-APP ECF No. 38-1, PageID.1076 Filed 09/13/22 Page 3 of 4




 016        November 5, 1998 Letter from Richard Gentges to Hal Fitch, State
            Geologist & Assistant Supervisor of Wells re Michigan Geosearch Inc.
            Pilate 1-24 Well

 017        December 20, 2002 Letter from Jack Elenbaas to Richard Gentges re
            Response to Review on November 12 1nd 13, 2002 of the 2001-02
            Storage Inventory Report for the ANR Pipeline Company, ANR
            Storage Company, and Mid Michigan Gas Storage Company Storage
            Fields (Filed Under Seal)

 020        2003 Storage and Production Field Inventory Audit – Underground Gas
            and Production Fields Owned, Leased and Operated by ANR Pipeline
            Company Prepared by Dowdle & Associates for ANR Pipeline
            Company (Filed Under Seal)

 021        E-Mail dated May 6, 2003 from Stephen Nowaczewski to Richard
            Gentges re Muttonville Inventory (Filed Under Seal)

 027        2012 Storage Field Inventory Audit – Underground Gas Storage Fields
            Owned by ANR Pipeline Company Prepared by Dowdle & Associates
            for ANR Pipeline Company (Filed Under Seal)

 030        Undated Muttonville Executive Summary (Filed Under Seal)

 033        Letter to Federal Energy Regulatory Commission FERC Hotline Matter
            – TF-2000-253

 040        Memo from Richard Gentges to Belinda Friis re Michigan Geosearch
            Pilat dated June 22, 1999

 044        Inter-Corporate Correspondence to R.J. Gentges from C.A. Penebaker
            dated June 15, 1995 (Filed Under Seal)

 046        Fax from Rick Gentges to Mark Nida dated March 26, 1999
Case 4:20-cv-12600-SDK-APP ECF No. 38-1, PageID.1077 Filed 09/13/22 Page 4 of 4




 047        Inter-Corporate Correspondence to J.D. Kobasa from R.J. Gentges
            dated January 26, 1995 (Filed Under Seal)
